   Case 4:22-cv-05502-DMR Document 143-46 Filed 07/06/23 Page 1 of 9



                             EXHIBIT V
                                 TO
    DECLARATION OF SOPHIA GARCIA IN SUPPORT OF SAN
FRANCISCO’S OPPOSITION TO PLAINTIFFS’ MOTION TO ENFORCE
              THE PRELIMINARY INJUNCTION
               Case 4:22-cv-05502-DMR Document 143-46 Filed 07/06/23 Page 2 of 9


Garcia, Sophia (CAT)

From:               Garcia, Sophia (CAT)
Sent:               Tuesday, April 11, 2023 7:59 PM
To:                 'zshroff@lccrsf.org'; 'Kevin.Wu@lw.com'; 'Wesley.Tiu@lw.com'; 'jdo@aclunc.org'; 'hrood@lccrsf.org';
                    'Al.Pfeiffer@lw.com'; 'Tulin.Gurer@lw.com'; 'nshahram@lccrsf.org'; 'Joseph.Lee@lw.com';
                    'bgreene@aclunc.org'; 'Rachel.Mitchell@lw.com'; 'ksetren@lccrsf.org'; 'edellapiana@lccrsf.org';
                    'sf.probono.unhoused.persons.litigation@lw.com'
Cc:                 Emery, Jim (CAT); Stevens, Ryan (CAT); Murphy, Kaitlyn (CAT); Gradilla, Miguel (CAT); Snodgrass,
                    Wayne (CAT); Fong, Winnie (CAT); Andrew, Rhonda (CAT)
Subject:            Coalition on Homelessness - Defendants' Document Production



Dear Counsel:
You will be receiving an email from CCSF SFTP NO‐Reply with a link to Defendants’ document production,
Bates‐numbered CCSF‐COH_003134‐022197.

Instructions for download
1.     For best results, please use Microsoft Edge internet browser. FTP does not work well with Chrome.
2.     Open CCSF SFTP No‐Reply email and click on Workspace link to download the file.
3.     Enter the Passcode 935268 and click Submit.
4.     Click on the file to download.

Please note the link will expire on April 18, 2023. If you do not receive the link, or if you have difficulty
             downloading the files, please contact me.

              Thank you.
              Sophia


Sophia Garcia
Legal Assistant
Office of City Attorney David Chiu
(415) 554‐3877 Direct
www.sfcityattorney.org
Find us on: Facebook Twitter Instagram




                                                           1
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Garcia, Sophia (CAT)

From:                CCSF SFTP NO-Reply <no-reply@sfgov.org>
Sent:                Tuesday, April 11, 2023 7:58 PM
To:                  Garcia, Sophia (CAT)
Subject:             Coalition on Homelessness - Defendants' Document Production


To: zshroff@lccrsf.org, Kevin.Wu@lw.com, Wesley.Tiu@lw.com, jdo@aclunc.org, hrood@lccrsf.org, Al.Pfeiffer@lw.com,
Tulin.Gurer@lw.com, nshahram@lccrsf.org, Joseph.Lee@lw.com, bgreene@aclunc.org, Rachel.Mitchell@lw.com,
ksetren@lccrsf.org, edellapiana@lccrsf.org, sf.probono.unhoused.persons.litigation@lw.com
CC: jim.emery@sfcityatty.org, ryan.stevens@sfcityatty.org, kaitlyn.murphy@sfcityatty.org,
miguel.gradilla@sfcityatty.org, winnie.fong@sfcityatty.org, rhonda.andrew@sfcityatty.org,
wayne.snodgrass@sfcityatty.org




This is an official message sent by the City & County of San Francisco Office of Cybersecurity to you.
.

One or more files have been sent to you by sophia.garcia@sfcityatty.org :


Please visit the Workspace to retrieve files.


You may be prompted to register an account if authentication is required.


These links will expire on 4/19/2023 2:46:45 AM

If the link has expired before you have accessed the shared file(s), please contact sophia.garcia@sfcityatty.org to resend
link or invitation.

Office of Cybersecurity
City & County of San Francisco
For help or assistance for this service, please contact the City HelpDesk at (628)652‐5000 or dtis.helpdesk@sfgov.org

Dear Counsel:
Please see attached zip file with Defendants’ document production. A passcode will be sent by separate email.

Thank you.
Sophia Garcia


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               Case 4:22-cv-05502-DMR Document 143-46 Filed 07/06/23 Page 4 of 9

Legal Assistant
Office of City Attorney David Chiu




                                               2
            Case 4:22-cv-05502-DMR Document 143-46 Filed 07/06/23 Page 5 of 9


Garcia, Sophia (CAT)

From:            CCSF SFTP NO-Reply <no-reply@sfgov.org>
Sent:            Tuesday, April 11, 2023 8:24 PM
To:              Garcia, Sophia (CAT)
Subject:         File Action Notification



Coalition on Homelessness ‐ Defendants' Document Production (sophia.garcia@sfcityatty.org): CCSF‐
COH_003134‐022197.zip was downloaded by sf.probono.unhoused.persons.litigation@lw.com (anonymously)
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Garcia, Sophia (CAT)

From:            CCSF SFTP NO-Reply <no-reply@sfgov.org>
Sent:            Tuesday, April 11, 2023 8:25 PM
To:              Garcia, Sophia (CAT)
Subject:         File Action Notification



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Garcia, Sophia (CAT)

From:            CCSF SFTP NO-Reply <no-reply@sfgov.org>
Sent:            Tuesday, April 11, 2023 9:24 PM
To:              Garcia, Sophia (CAT)
Subject:         File Action Notification



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Garcia, Sophia (CAT)

From:            CCSF SFTP NO-Reply <no-reply@sfgov.org>
Sent:            Tuesday, April 11, 2023 9:27 PM
To:              Garcia, Sophia (CAT)
Subject:         File Action Notification



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Garcia, Sophia (CAT)

From:             CCSF SFTP NO-Reply <no-reply@sfgov.org>
Sent:             Wednesday, April 12, 2023 9:20 AM
To:               Garcia, Sophia (CAT)
Subject:          File Action Notification



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